Case O:lQ-cv-60752-DPG Document 1-1 Entered on FLSD Docket 03/22/2019 Page 1 of 1
Ao 440{R¢v. 06/12) summons inacivnAccion '

 

UNITED STATES DISTRICT CoU`RT

 

 

 

 

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l southern eiss-ici of maria l
Brenda Be||, §ndividuaiiy and on behan of all others )
similariy situated, §
)
Piaintiff(s)- )

v. § Civil Action No.

Royai Seas Cruises, |nc., a Florida corporation )
)
)
)
De)@ndant(s) }

SUTVHVIONS IN A CIVlL ACTION

To: _(Dejéna'anr’s name and addressj F|Oyal Seas Cruises, inc,
c/o Registereci Agent, Ctiristina Heycien
1770 NW 64th Street
Suite 600
Fort Lauderde|e, F|orida 33309

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) m or 60 days if you
are the United States or a Uniteci States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) -~ you must serve on the pieintiff an answer to the attached complaint or a motion under Ruie 12 of
the Federal Ruies of Civii Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Law Office ot Ryan S_ Shipp, PLLC

Ftyan S. Shipp, Esq. (Fi. Bar Number 52883)
814 Wv |..antana Hd. Suite 1,

Lantana, Fforida 33462

(56`¥) 699-0399

Emai|: Ryan@shipplawofiice.com

If you fail to respond, judgment by default wili be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court

CLERK OF COURT

Date:

 

 

Sigrzarzrre ofC!erk or Deputy C!erk

